                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK


IVAN ANTONYUK, et al.,

                              Plaintiffs,                               NOTICE OF
                                                                         APPEAL
       v.

KATHLEEN HOCHUL, et al.,
                                                                 Civil Action No.: 1:22-cv-986
                              Defendants.                                 (GTS/CFH)



       Please take notice that Defendant Joseph Cecile hereby appeals to the United States Court

of Appeals for the Second Circuit from the Decision and Temporary Restraining Order entered in

this action on October 6, 2022 (Dkt. No. 27).




Dated: October 10, 2022                               SUSAN R. KATZOFF, ESQ.
Syracuse, New York                                    CORPORATION COUNSEL-CITY OF SYRACUSE
                                                      Counsel for Defendant Joseph Cecile
                                                      233 East Washington Street
                                                      Syracuse, New York 13202
                                                      Tel No.: (315) 448-8400


                                                By:
                                                      Danielle R. Smith, Esq. (Bar No. 517775)
                                                      Todd Long, Esq. (Bar No. 519301)
                                                      Assistant Corporation Counsel
TO:   Stephen D. Stamboulieh, Esq.                  Robert J. Olson, Esq.
      Stamboulieh Law, PLLC                         William J. Olson, P.C.
      P.O. Box 428                                  370 Maple Avenue W – Suite 4
      Olive Branch, MS 38654                        Vienna, VA 22180
      Tel: (601) 852-3440                           Tel: (703) 356-5070

      Attorneys for Plaintiffs

      James M. Thompson, Esq.                       Michael G. McCartin, Esq.
      Special Counsel to the Attorney General       Special Counsel to the Attorney General
      28 Liberty Street                             The Capitol
      New York, NY 10005                            Albany, NY 12224
      Tel: (212) 416-6556                           Tel.: (518) 776-2620

      Attorneys for State Defendants

      John E. Heisler, Jr., Esq.
      Onondaga County Department of Law
      John H. Mulroy Civic Center
      421 Montgomery Street, 10th Floor
      Syracuse, NY 13202
      Tel: (315) 435-2170

      Attorneys for Defendants William Fitzpatrick and Eugene Conway

      Edward G. Melvin, Esq.
      John Joseph Pelligra, Esq.
      Barclay Damon LLP
      125 East Jefferson Street
      Syracuse, NY 13202
      Tel: (315) 425-2783

      Attorneys for Defendants Gregory Oakes and Don Hilton

      Edward I. Kaplan, Esq.
      P.O. Box 155
      Hunter, NY 12442
      Tel: (518) 821-5070

      Attorney for Defendant Joseph Stanzione

      P. David Soares, Defendant
      District Attorney, Albany County
      6 Lodge Street
      Albany, NY 12207
      Tel: (518) 487-5460

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